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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

CHRISTINE LUCERO as Next Friend
to DAN LUCERO

               Plaintiff,
v.                                                         No. 2:19-CV-00445 KWR/KRS

CITY OF CLOVIS POLICE DEPARTMENT,
BRENT AGUILAR, and DOUGLAS FORD

               Defendants.

              ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

         THIS MATTER having come before the Court upon Defendants’ Unopposed Motion to

Withdraw as Counsel and the Court having been advised:

         THE COURT FINDS that it has jurisdiction over the parities and the subject matter

involved herein and that the Motion is well taken and should be granted.

         WHEREFORE, it is Ordered, Adjudged, and Decreed that that Defendants’ Motion be

granted and the Law Offices of Mark A. Basham, P.C. is permitted to withdraw as counsel for

Defendants City of Clovis Police Department, Brent Aguilar and Clovis Police Chief Douglas

Ford.




                                            ___________________________________
                                            THE HONORABLE KEVIN R. SWEAZEA
                                            UNITED STATES MAGISTRATE JUDGE
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Submitted by:

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